JS 44 (Rcv. 091/1 1)

the civil dockot sham

Case 2:12-Cv-O4556-CI\/|R Document 1

CIVIL COVER SHEET

The JS 44 civil cover sheet and the informaLion contained herein neitherreplaoe nor supp1omer111he filing and service ofpieadings or other papers as required by law, cxcepl as pr_o_vic_led
by loca1 mles oi`coult. This fonn, approved by the Judiciai Cooi`orence ofcho United States in Septemb<:r 1974. is required for the use of 1119 Ciork of Court for the purpose of mmath
(SEE`INSTLF?UCTIONS ONNEXT PA GE OF THIS FORM)

Filed 08/10/12 Page 1 of 18

 

I. (a) PLAINTIFFS
Ad:`ian Lupu

(b) c@umy OY‘R<»,-idence. of Firsr usch Plaimif§
(EXCEPT IN U.S` PLALVTIFF CASES)

_ Ch@Si£l;_

(C) Atf()l`n€y§ (Firm N¢Jme, /§dcfress, mm' th€pilorre anber)
Adrian Lupu5 Pro Se_, 1332 Airpo:'t Road, Coatesville, PA 19320

 

I)EFENDANTS

NOTE:

Attul`n€y$ C_If'Knowzd

 

County ofResidonce ofFirst Listed Defendam 7 7 77 7 77
(IN U‘S. PLALVTIFF CASES ONLY)

Loan City, LLC, Fannie Mae, Mortgage Elect,rcm§c Registration
Systoms, Inc. and OneWeSt Bank, FSB

IN LAND CONDEM`NATION' CASES. USE THE LOCA"I“].ON OF

THE r1"R.ACT DF 1,AND iNVOI.,\/ED.

FOY OnchSl Bank, FSB, Udren Law Off`lc<:‘s, P.C., Sherri }. memstein, Esquire,
11 1 Woodcresl Road, Suite 200. Cherry Hill, N.f 08003, 856~669~5400

 

II. BASIS OF JURISDICTION

{Piace an “X "

fn One Br)x O.'zfy)

 

(For'DiverSj{v Ctm‘es OHE_V)

III. CITIZENSHIP OF PRINCIPAL PARTIES (P!ace mr "X" m (Jm> 13er forP!mm{jf}

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V§. CAUSE OF ACTI()N

 

Compiainl to Quiet Titie

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23 U.S.C.1332 61 830
Bri<:f description of cause:

 

 

 

 

 

  

 

 

 

JUDGE

MAG. JUDGE

VLI. REQUESTEI) IN El cHECK IF ?HIS IS A CLASS ACTION DEMAN:) § Cr-IEC:< YES amy ii‘dcmanded in c¢>mplaimr
m _CQM_PLA "lf;_ _ UNDER F~R-C-F_’_:§~°_’______ JU__RY___DEM_AND_?__ __ _ _ §3__`§’€»?__ X_ 399
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Case 2:12-cv-O4556-CI\/|R Document 1 Filed 08/10/12 Page 2 of 18

15 44 Reverse (Rev, 09!11}
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEE'I` FORM .IS 44

Authority For Civil Cover Sheet

The lS 44 ci vil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court This form._ approved by the Judicial Confercnce of the Uni_ted States in September 1974, is required for the use
of the Clerk ofCourt for the purpose of initiating the civil docket sheet Consequently, a civil cover sheet is submitted to the Clcrk ofCourt for each civil complaint
tiled. The attorney filing a case should complete the form as follows:

l. (a) Plaintit`fs-Defendants. Enter names {last, first1 middle initia.l) ofplaintit`§and defendant It`thc plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. lf thc plaintiff or defendant is an official Within a government agency, identify tirst the agency and then the cfticia§, giving
both name and titlc.

(h} County ot`Residence. Por each civil case tiled, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of Hling. ln U.S. piaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing (NOTE: in land condemnation
cases, the county of residence of the "dct`endan.t" is the location ol" the tract of land involved.)

(c} Attorncys. `Entcr the firm name, address, telephone number, and attorney of record. lf there are several attorneys list them on an attachment noting
in this section “(see attachment)".

ll. Jurisdiction. Tbe basis ofjurisdiction is set forth under Rule S(a)` F.R.C.P., Which requires that.iurisdictions be shown in pleadings Place an ‘“ ”’ in one
of the boxes lf there is more than one basis ofjurisdiction, precedence is given in the order shown below.

United States plaintiff (§) lurisdiction. based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here,
United St'ates defendant {2) Wnen the plaintiff is suing the tln§ted States, its officers or agencies place an "‘X"` in this box.

Federal question (3) This refers to suits under 28 U.S.C. 1331., vvhere jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty ofthe United States. in cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence and box
l or 2 should be marked

Diversity of citizenshipl (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states When Box. 4 is ehecked, the citizenship of
the different parties must be checked {See Section lll belo\v; federal question actions take precedence over diversity cases.)

ill. Residence (citizenship) ofPrincipal Parties. This section ofthc }S 44 is to be completed if diversity of citizenship was indicated above Marl< this section
for each principal party.

1V. Nature cf Suit. Place an “X" in the appropriate box, lft'he nature of suit cannot be determined be sure the cause of action, in Scction VI below, is
sufficient to enable the deputy clerk or the statistical clerks in the Adrninistrative Ot`tice to determine the nature of suit. li` the cause fits more than one nature of
suit, select the most definitive

V. Origin. Place an “X" in one ofthe seven boxes
Original Procecdings. (i) Cases Which originate in the l_lnited States district courts

Rernoved from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Ti.tle 28 U.S.C., Section 1441 When the petition
for retrieval is granted, check this box.

Rennanded front Appeliate Court. {3) Check this box for cases remanded to the district court for farther action Use the date of remand as the thing date.
`Reinstated or Reopened. (4} Checi< this box for cases reinstated or reopened in the district court Use the reopening date as the filing date.

Transfcrred from Another District. (5) For cases transferred under 'l`itle 28 U.S.C. Section 1404{31. Do not use this for Within district transfers or multidistrict
litigation transfers

Multidisuict Litigation‘ {6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Scction 1407 thn. this
box is checked1 do not check (5} above.

Appea§ to District ludge from Mag;istrate judgment (’7} Cnecl< this box for an appeal dorn a magistrate _iudge’s decision
VI. Cause ot'Action. Report the civil statute directly related to the cause of action and gi ve nbrief description ofthc cause Do not citejurisdictionai statutes
unless diversity Example: U`.S. Civil S_tat_ute: 47 USC 553 . _
Brief Description: bnauthorized reception of cable service
VII. Requested in Compiaint. Class Action. Place an "X"` in this box if you are filing a class action under Rule 23: F.R.CV.P.
Dernand. in this space enter the doliar amount (in thousands ot` do§lars} being demanded or indicate other demand such as a preliminary injunction
.lury De:nand. Check the appropriate box to indicate Whether or not a jury is being demanded

VIII. Related Cases. This section of the .lS 44 is used to reference related pending cases if any. if there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.

Date and Attorney Signature. i)ate and sign the civil cover sheet

 

 

Case 2:12-cv-O45MMTDQQS®MHICEl@(:§@§/itO/lZ Page 3 of 18

F()R THE EASTERN DISTR]CT GF PENNSYLVANIA w I)ESlGNATION FORM to be used by counsel to indicate the category of the ease for the purpose of
assignment to appropriate calendar.

Address of Plaintift`: Adrian Lupu 1332 Airport Road. Coatesvi§le. PA 19320
Address of Defendant: OneWest Bank. FSB. 29(}{1 Esneranaa. Austin TX 78758

Place of Accident, incident or T:"ansaction: Coatesville, PA
(Use Reverse Side For.»'idditional Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock‘?

 

(Attach two copies of the Disclosure Statement Fonn in accordance with Fed.R.Civ.P. 7. l(a)) Yesl:l No X
Does this case involve multidistrict litigation possibilities? YesE No X
RELA TED CASE. IF ANY:

Case Number: Judge Date Terininated;

 

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

l. ls this case related to property included in an earlier numbered suit pending or within one year previously te:minated action in this coul't'?

Yeslie No X
2. Does this case involve the same issue ol` fact or grow out oi"the same transaction as a prior suit pending or within one year previously terminated
action in this coux't?

‘s.’esl:j No X

3. Does this case involve the validity or infringement ot`a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this coult? Yesl:l l\lo X

4. ls this case a second or successive habeas corpus, social security appeal. or pro se civil rights case 1filed by the same individual‘?

YSSE NO 1 L

 

CIVIL: (Place v" in ONE CATEGORY ONLY)

A. Fecleral Questir)n Cases: B` Dz`ve)"si.{vjur.isdiction Cases:
l. ll lndeinnity Contract, Marine Contract, and All Other Contracts l. El Insurance Contract and Other Contracts
2. ll FELA. 2. \Il Airplane Personal ln_jury
3. 153 J" ones Act~Personal lnjury 3. 111 Assault, Defarnation
4. 113 Antitrust 4. 51 Marine Personal lnjury
5. L"§ Patent 5. §§ Motor Vehicle Personal lnjury
6. E§ Labor~l\/lanagernent Relations 6. iii Other Personal. lnjury (Please specify)
7. E Civil Rights 7. 13 Products Liability
8. ill liabeas Corpus 8. §§ Products l..iability_Asbestos
9. 133 Securities Act{s) Cases 9. X All other Diversity Cases
l{). fit Social Security Review Cases (Please specify) Act'ion to Quiet Title
l l. Cl All other Federal Question Cases
(Piease specify)

 

ARBITRATION CERTIFICATION
( Check Appropriate Catego);v)
l, Shen‘i .l. Braunstein. Esouire , counsel ol`record do hereby celtify:

 

13 Pursuant to l.,ocal Civil Rule 53,2, Section 3(0)(2), that to the best of my knowledge and belief the damages recoverable in this civil action case exceed the sum of
$150,000.0{) exclusive of interest and costs;

 

 

   

Attorn'ey-at-law '
NO'I`E: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.i’. 38.

 

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court

Attorney-at-l`_aw Attorney i.D.#

   

 

 

CIV. 609 (5/2012}

 

Case 2:12-cv-O4556-CI\/|R Document 1 Filed 08/10/12 Page 4 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT ()F PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION=FGRM
Adrian Lupu : CIVIL ACTION
v.

Loan City, LLC :
One West Bank ez'. al. : NO.

ln accordance With the Civil lustice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shallL complete a Case Management 'l`rack Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendantsl (See § l :03 of the plan set forth on the reverse
side of this forrn.) ln the event that a defendant does not agree vvith the plaintiff regarding said
designation, that defendant shail, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Managernent Tracl< Designation Forrn specifying the track

to Which that defendant believes the case should be assigned
SELECT ONE GF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus ~ Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Secnrity w Cases requesting review of a decision of the Secretary of Health
and Hurnan Services denying plaintiff Social Security Benefits.

(c) Arbitration ~»~ Cases required to he designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos m Cases involving claims for personal injury or property damage from
exposure to asbestos

(e) Special Management W Cases that do not fall into tracks (a) through (_d) that are
commonly referred to as complex and that need special or intense management by
the court (See reverse side of this form for a detailed explanation of special
management eases.)

(f) Standard Managenient - Cases that do not fall into any one of the other tracks

§ Sheiri J. Braunsteinr Esguire OneWest Bank, FSB

 

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Date Attorney-at-iaw Attorney for
(856) 669-5400 eXt. 5456 (856) 669-5457 sbraunstein@udren.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10102

Case 2:12-cv-O4556-C|\/|R Document 1 Filed 08/10/12 Page 5 of 18

Civil Jt:stice Expense and De§ay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading

(b) ln all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Managernent or
Special Management. ln the event thatl a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned

(c) 'l`he court may, on its own initiative or upon the request of any party, change the track
assignment of any case at anytime

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer‘s authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reductionl

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.(}2 (e) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special l\/lanagement cases will usually include that class of cases commonly referred to as "'complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex litigation Second, l\/ICL 2d was prepared in l985. This term is
intended to include cases that present unusual problems and require extraordinary treatment See §O.l of the
first manual Cases may require special or intense management by the court due to one or more of the
following iactors: (l) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discoveiy;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition lt may include two or more
related cases Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large melnbersliip; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholders derivative and stockholdcr*s representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues See §0.22 of the first l\/.[anual for Complex litigation and Manual for Complex litigation
Second, Chapter 33.

Case 2:12-cv-O4556-C|\/|R Document 1 Filed 08/10/12 Page 6 of 18

IN THE UNITED STATES DISTRICT COURT
FC'R T-HE EASTERN DISTRECT {")F PENNSYLVANIA
Adrian Lupu
Civil Actionl\lo.
Plaintiff

V.
Loan City, LLC
OneW est Bank

 

Defendants
Please check one boaz
X The nongovernmental corporate party, OneWest Bank. FSB, in the above listed civil

action does not have any parent corporation and publicly held corporation that owns l{l%
or more of its stock.

l:l

The nongovernmental corporate party, OneWest Banl<i FSB? in the above listed civil
action has the following parent corporation(s) and publicly held corporation(s) that owns
lt)% or more of its steele

 

 

 

   

Counsel for: OneWest Banl<;, FSB

 

Adrian Lupu

Loan City, LLC
OneWest Bank

Case 2:12-cv-O4556-C|\/|R Document 1 Filed O8/10/12 Page 7 of 18

IN THE UNITED STA'I`ES DISTRICT COURT
FOR THE EASTERN BESTRICT OF PENNSYLVANIA

Civil Action No.
Plaintiff

V

Defendants

 

Please check one boX:

X

§§

 

The nongovernmental corporate party, OneWest Banl< FSB, in the above listed civil
action does not have any parent corporation and publicly held corporation that owns lO%
or more of its Stock.

 

The nongovernmental corporate party, OneWest Banl< FSB, in the above listed civil

action has the following parent corporation(s) and publicly held corporation(s) that owns
l{)% or more of its stocl-;:

 

 

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Signature

Counsel fort OneWest Bank, FSB

 

 

 

 

Case 2:12-cv-O4556-C|\/|R Document 1 Filed O8/10/12 Page 8 of 18

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTR`ECT OYF` PENNSYLVAN{A

Adrian Lupu

Plaintiff No.

v.

Loan City, LLC
OneWest Banl< er al.,

Defendants

 

NOTICE OF REMOVAL

TO THE UNITED STATES DISTRICT COURT
FOR THE- EASTERN DISTRICT OF PENNSYLVANIA

Pursuant to 28 U.S.C.§l446, Defendant, OneWest Banl<, FSB, (“OneWest Banl<”), by
and through its undersigned counsel, hereby gives notice of removal of the civil action entitled,
Adrian Lupu v. OneWes. Banl§. et al., Court of Connnon Pleas of Chester County5 Pennsylvani_a,
No. 12-04228, to the United States District Court for the Eastern District of Pennsylvania. ln
support of this Notice of Rernoval, OneWest Bank avers:

I. GR()UNDS FOR REMOVAL: DIVERSITY JURISI)ICTION

l. Pursuant to 28 U.S.C. §144l, a state court action is removable to federal court
Wheii a federal court has original jurisdiction over the mattel‘:

[A]ny civii action brought in a State court of which the district
courts of the United States have original jurisdictionj may be
removed by the defendant or defendants, to the district court of the
United States for the district and division embracing the place
where such action is pending

'2.. Pursuant to 28 `U.S.C. §1332, the “district courts shall have original jurisdiction of

all civil actions where the matter in controversy exceeds the sum or value of $75,000, exclusive

 

of interest and costs, and is between . .(l) citizens of different states.” [d.

 

Case 2:12-cv-O4556-C|\/|R Document 1 Filed O8/10/12 Page 9 of 18

,.`

.). OneWest Bank`s basis for removal is based upon diversity jurisdiction under 28
U.S.C. §1332.

4. Plaintift`, Adrian Lupu, acting pro se, filed an Action to Quiet Title on April 24,
2012 in the Coui't of Cornrnon Pleas of Chester County, PA, Docket No. 20]2-04228 and named
as Det`endants, LoanCity, LLC, l\/Iortgage Electronic Registration Systenis hic., § annie Mae and
John Does l-lOO. See Cornplaint, attached hereto as Exhibit l, ill

5. The Complaint sought to “Quiet Title against the mortgage holder(s), assigns and
successors ot` the l\/Iortgage recorded by Lender LOANCITY, LLC in the office of the Recorder
of Deeds Chester County, PENNSYLVANIA in Bool<: number 70()6 on Page l7l 3 as Document
number 10703983,” which mortgage was in the principal amount of $289,600.00. [d. ill; See
also E)~:hibit B {Mortgage} to the Conipiaint.

6. Plaintit`§ served Defendant, LoanC`ity, LLC via personal service on l\/iay 2, 2012
as evidenced by the return of service tiled with the Chester County Couit of Coinmon Pleas, on
l\/lay 24, 2012. See Aft`idavit of Service, attached hereto as Exhibit 2.

7. The Chester County Court oi" Coinmon Pleas does not reflect service of the
Coinplaint upon either Fannie Mae or l\/Iortgage Electronic Registration Systeins lnc.

8. Plaintiff filed a Praecipe for Det`ault Judgment Jfor Quiet 'I`itle against Defendant,
LoanCity LLC on June lS, 2012}. See Praccipe for Default Judgment against Defendant
leanCity, LLC on J'une lS, 201.2, attached hereto as Exhibit 4.

9. On July 2, 2012, Plaintit`f filed a “Praecipe to Add One West Bank” and requested

“the ability to amend the complaint to address the Assignment of l\/lortgage Correctly” based

 

1 Although Plaintiff filed a Praecipe for Default Judgment as to LoanCity LLC, it does riot appear that the Plaintiff
complied with the Peniisylvania Rules of Civil Procedui'e regarding entry of default judgment in an Action to Qui.et
Titie.

 

 

Case 2:12-cv-O4556-C|\/|R Document 1 Filed O8/10/12 Page 10 of 18

upon an Assignment of Mortgage recorded in favor of OneWest Bank on lane l5, 2012 in the
Chester County Recorder of Deeds, as Book 84»49, Page 2034 See Exhibit 5.

10. On July 2, 2012, Piaintiff filed an Amended Cornplaint and added OneWest Banl»:
as a Defendant to the Quiet 'l`itle Action. See, Ainended Coinpiaint, attached hereto as Exhibit
6,‘1`[1,3.

l l. OneWest Bank received a copy of the Aniended Coinplaint on or about July l2,
2()l2, less than thirty (30) days ago.

l2. Plaintiff, Adrian Lupu, is a citizen of Pennsylvania, as evidenced by his
Cornplaint and Arnended Coniplaint. See Exhibits l, iii and 6, jil.

l3. Upon information and belief7 Defendant, Loa.nCity LLC, having an address at
567l Santa Theresa Bivd., Suite 200, San .`Jose, CA 95l23, is a Citi:ren of <'.`ialii"r_irniava Sea E.X_h_ibit
l and 6.

l4. Upon information and beliefj Det"endant, Mortgage Electronic Registration
Systems, lnc., having an address of P.O. Box 2026, Flint, Ml 48501-2026_, is a Citizen of
Michigan. See Exhibit l.

15. Upon information and beliet`, Defendant, Fannie Mae, having an address of 3900
Wisconsin Avenue, N.W. Washington, DC 20016, is a Citizen of WaShington DC. Id.

16. As stated herein above, upon information and or belief, neither Fannie l\/iae nor
l\/lortgage Electronic Registration Systeins lnc. have been seiyed original process as of the date
this Notice of Rernoval is being iiled.

l.?. OneWest Bank, FSB, a federally~chartered bank, is a citizen of California, having

its corporate offices at 888 East Wainut Street, Pasadena, CA 91101. See Exhibit 6.

 

 

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l8. The amount in controversy in this Quiet Titie Action exceeds the sum or value of
375,000.00 as the principal balance of the mortgage at issue is in the amount of 8289,600.00, and
the amount owed by the Plaintiff is significantly higher due to non~payinent under the mortgage
agreementl See Exhibit lill; see also Exhibit B (l\/lortgage) to the Coniplaint.

19. The grounds for removal having been met, this Court has subject matter
jurisdiction over this matter 28 U.S.C. §l332.

II. REMOVAL I`S TI`MELY

20. Removal may be effectuated by properly complying with the time limitations and
procedures set forth in 28 U.S.C. §l446.

2l. Section 1446(b) states, in pertinent part:

if the case stated by the initial pleading is not removable5 a notice
of removal rnay be iiled within thirty days after receipt by the
defendant, through service or otherwise, a copy of an amended
pleading, motion, order or other paper from which it may first be
ascertained that the case is one which is or has become
removablel ..

22. The Original Coinplaint, which initiated this litigation, did not name OneWest
Banl< FSB as a Defendant. See Exhibit l.

23. Plaintift`s Ainended Compiaint, however, does name OneWest Bank, FSB as a
Defendant. This was the first pleading entitling OneWest Bank to enter an appearance thereby
allowing for removal of this case based upon Diversity lurisdiction. See Exhibit 6.

24. OneWest Banl< received a copy of the Ainended Cornplaint on or about July l2,
2{)§2.

25` OneWest Banl< entered an Appearance and filed Preliminary Ob_iections to the
` Co`rnplaiht`o`n`}“iii`gii`st l", 2()`1'2. 'See l§lxhib"it`s"l"i)""`a`ii`d"lti`." ` ` `

26. This Notice of Rernoval has been timely filed See 28 U.S.C. §1446(b)(2)(l3)

 

 

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III. ALL OTHER PROCEDURES FOR REMOVAL HAVE BEEN FOLLOWED

27. As required by 28 U.S.C. §1446(3.), OneWest Bank hereby attaches the following

documents that constitute “all process, pleadings and orders served” in the action to date:

Exhibit 1:

Exhibit 21

Exhibit 31

Exhibit 41

Exhibit 5:

Exhibit 61

Exhibit 71

Exhibit 8:

Exhibit 9:

Exhibit 102

Exhibit l l:

Exhibit 121

Exhibit 131

Exhibit 141

Exhibit 15: '

Exhibit 16:

Veritied Cornpiaint to Quiet Title

Afiidavit of Service on LoanCity, LLC

Aftidavit of Mailing Notice of Praecipe for Default §ndgment
Praecipe for Default Judgrnent

Praecipe to Add One West Bank

Veritied First Arnended Cornplaint to Quiet Title

Motion to Enter Evidence into the Court Record

‘F'Firi cavi€’ irl

»..Mu.\.¢w v ».\, nn

Support of Motion to Enter Docuinent B as Evidence
into the Court Record

Aftidavit in Support of Motion to Enter Document C as Evidence
into the Court Record

Aft`idavit in Support of Motion to Enter Docnrnent D into the
Court Record.

At`fidavit in Support of l\/iotion to Enter Docurnent 13 as Evidence
into the Court Record

Aft`idavit in Support of Motion to enter Document F as Evid.ence
into the Court Recoi'd

Praecipe for Determination
Praeeipe for Final ludgrnent
Enti‘y of Appearance on behalf of Defendant, OneWest Bank, FSB

Preliniinary Objections of Det`enda;nt, OneWest Bank, FSB

 

 

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28. Pursuant to 28 U.S.C. §1446(b)(2)(A), consent to the removal by Defendants,
Fannie 1\/lae and i\/lortgage Electronic Registrations Systerns lnc. is not needed as they have not
yet been seived with the initial pleadings See also Ogletree v. Barnes, 85l F.Supp. 184, 187
(E.D. Pa. 1994).

29. Moreover, pursuant to 28 U.S.C. § l446(b)(2)(C), “[i]t` defendants are served at
different times, and a later served-defendant tiles a notice of removal, any cartier-served
defendant wmway consent to the removal even though the earlier»served defendant did not
previously initiate or consent to rem.oval.” Id.

30. Additionaliy, aithough OneWest Bani< attempted to obtain consent to the removal
from LoanCity LLC, it has been unsuccessful Hovvever, because LoanCity LLC has § interest
in the subject mortgage by virtue of the assign-.ient of mortgage recorded in favor of OneWest
Bank FSB on lune l§, 2012 in the Chester County Recorder of Deeds, as Book 8449, Page 2034,
LoanCity LLC is a “noininal” party and “need not join in the notice of removal or otherwise
consent to the removal.” See Oglerree v. Barnes, 851 F.Supp. 184, 187 (E.D. Pa. 1994).

31. Although consent oi` Mortgage Electronic Registration Systems lnc. is not needed
due to lack oi` service, it is likewise a “noniinal” defendant as it has no interest in the subject
mortgage by virtue of the assignment of mortgage recorded in favor of OneWest Bank FSB on
June l5, 2012 in the Chester County Recorder of Deeds, as Book 8449, Page 2034, and it “need
not join in the notice of removai or otherwise consent to the removal.” Id_

32. All adverse parties to this action have been provided with written notice of the

filing of this Notice of Reinoval, as required by 28 U.S.C. §1446(d), as evidenced by the

 

 

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33. Atter filing this Notice of Rernoval, OneWest Banl< will promptly cause to he

filed with the Court ot` Cornmon Pieas of Chester County, Pennsylvania a copy of this Notice of

Removal, as required by 28 U.S,C, §1446(1>). A copy of the Notice to be iiied with the Chester

County Court of Corninon Pleas, without exhibits, is attached hereto as Exhibit 17.

WHEREFORE, Defendant, OneWest Bank, FSB, removes this case to this Court in

accordance with 28 U.S.C. §1441.

Dated: Augnst q , 2012

Respectfully snbrnitted,

UDREN LAW OFFICES, P.C.

   

/S/ Sherri J. Braunstein, Esquir
Sherri J. Braunstein '
PA i.D. 90675

Woodcrest Corporate Center
111 Woodcrest Road, Suite 200
Cherry l~lill, NJ 08003

(856) 669-5400 eXt. 5456 (telephone)
(856) 669~53 99 (facsimile)

Attorney for Dei"endant,

OneWest Banl<, FSB

 

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CERTIFICATE OF SERVICE

 

l, Sherri J. Brannstein, Esquire hereby certify that a true and correct copy of the foregoing
NOTECE OF REMOVAL was served on Angust §§ , 2012, by first-class U.S. niail,
postage prepaid, and/or emaii as noted below:

Adrian Lupu
1332 Airport Road
Coatesville, PA 19320
Plaintt`ff

LoanCity LLC
5671 Santa rl`heresa Blvd., Suite 200,
San Jose, CA 95123
Defendant

Mortgage Electronic Registration Systerns, inc.
P.O. Box 2026
Flint, l\./H 4850§-2026
Defena’cmt

Fannie l\/lae
3900 Wisconsin Avenue, N.W.
Washington, DC 20016
Dejendanf

/S/ Sherr.i J. Braunstein, Esquire
Sherri J. Braunstein

 

 

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UDREN LAW OFFICES, P.C.

BY: SHERRI .¥. BRAUNS"`EI¥, ESQUIH
H) # 90675

WOOBCREST CORPORATE CENTER
111 WOODCREST ROAD, SUITE 200
CHERRY HILL, NJ 080{)3-3620
856-669-5400

pleadings@udren.com

 

Adrian Lupu
Plaintiff
v.
Loan City, LLC
OneWest Bank er al.,

Defendants

 

ATTORNEY FOR DEFENDANT,
GNEWEST BANK, FSB

ln the Court of Cominon Pleas
Chester County

Civil Action

NO. 12~04228

NOTICE OF R_EMGVAL TO THE UNITED STATES DISTRICT COURT
FGR THE EASTERN DISTRIC'I` OF PENNSYLVANIA

TO: PROTHONOTARY

Court of Coininon Pleas of Chester County, Pennsylvania

Adrian Lupu

1332 Airport Road
Coatesville, PA 1.9320
P[ainfz_'ff

LoanCity LLC

5671 Santa 'i`heresa Blvd., Snite 200,
San Jose, CA 95123

Defendant

Mortgage Electronic Registration Systems, Inc.

P.O. Box 2026
Flint, Ml 48501~2026
Defendant

Fannie l\/lae

3900 Wisconsin Avenue, N.W.
Washington, DC 20016
De_]‘éndant

 

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ln compliance with 28 U.S.C. §1446, you are hereby notified that, Defendant OneWest
Banlc, FSB has removed this case to the limited States Distn`ct Conrt for the Eastern District of
Pennsylvania. A true and correct copy of the Notice of Removai is attached hereto as Exhibit A.

UDREN `LAW OFFICES, P.C.

/S/ Sherri J. Braunstein, Esc?uire
Sherri J. Braunstein

PA l.D. 90675

Woodcrest Corporate Center
111 Woodcrest Road, Suite 200
Cherry l~liil, N.l 08003

(856) 669-5490 (telephone)

(8 56) 669-5399 (facsimile)
Attorney for Defendant,

OneWest Banl<, FSB
Dated: Augnst , 2012

 

 

